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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


     UNITED STATES OF AMERICA

     v.                                                    Case No. 8:18-cr-167-T-17JSS

     MICHEL MARC CHATEAU
                                          _/


                                    ORDER OF DETENTION

               This cause is before the Court on the matter of the Defendant’s release or

     detention. The Defendant stands indicted on one count of conspiracy to commit

     money laundering and thirty-four counts of money laundering. (Doc. 42). The

     government seeks to detain the Defendant pursuant to 18 U.S.C. § 3142(f)(2)(A),

     alleging that he poses a serious risk of flight. The Defendant defers on the matter,

     electing to reserve the right to address the issue of his release at a later date.

               For the reasons proffered by the government on the record, the government’s

     motion to detain the Defendant is granted. Counsel may revisit the matter of the

     Defendant’s release by subsequent motion should the circumstances warrant such

     relief.

               The Defendant is hereby committed to the custody of the Attorney General or

     his designated representative for confinement in a corrections facility separate, to the

     extent practicable, from persons awaiting or serving sentences or being held in

     custody pending appeal. The Defendant shall be afforded a reasonable opportunity

     for consultation with counsel. On order of a court of the United States or on request
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     of an attorney for the government, the person in charge of the corrections facility

     shall deliver the Defendant to the United States Marshal for the purpose of an

     appearance in connection with a court proceeding in this matter.

            DONE and ORDERED in Tampa, Florida, this 4th day of October 2018.




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